                   Case 1:25-mj-05150-JGD                Document 2          Filed 05/12/25         Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                   District of
                                               __________      Massachusetts
                                                            District of __________

                  United States of America                        )
                             v.                                   )
                                                                  )      Case No.
                       Kseniia Petrova                            )                 25-5150-JGD
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                February 16, 2025              in the county of            United States       in the
                       District of       Massachusetts        , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. § 545                              Smuggling goods into the United States




         This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT




         ✔ Continued on the attached sheet.
         u


                                                                                             Complainant’s signature

                                                                                  Special Agent Brian Goldsworthy, HSI
                                                                                              Printed name and title

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Date:             05/12/2025
                                                                                                Judge’s signature

City and state:                   Boston, Massachusetts                         Hon. Judith G. Dein, U.S. Magistrate Judge
                                                                                              Printed name and title
